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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


   UNITED STATES OF AMERICA,

          Plaintiff,

   v.                                                      Case No. 8:18-cv-780-T-36CPT

   STEVEN M. DOLETZKY, V.J.S.D.
   SERVICES LLC, MICHAEL A. GARNO,
   MICHAEL A. BASS, and BAD WOLF
   TAXES AND ACCOUNTING LLC,

         Defendants.
   ____________________________________/


                                         ORDER

          This cause is before the Court on the United States’ Motion for Rule 37 Sanctions

   Against Steven Doletzky, Including Contempt of Court.      (Doc. 50).   For the reasons

   discussed below, the government’s motion is granted in part and denied in part.

                                              I.

          The United States commenced this civil enforcement action in April 2018,

   alleging that Defendants Steven Doletzky, Michael Garno, Michael Bass, Bad Wolf

   Taxes and Accounting LLC, and V.J.S.D. Services LLC oversaw the filing of

   fraudulent federal income tax returns as the owners/operators of multiple Liberty Tax

   Service tax preparation franchises in Florida. (Doc. 1).
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          Following the Defendants’ filing of their respective answers (Docs. 22-24, 27),

   the Court entered a Case Management and Scheduling Order (CMSO) in July 2018,

   which included an initial disclosures deadline of August 10, 2018, and a discovery

   deadline of September 6, 2019 (Doc. 39).

          In October 2018, the government filed a motion to compel Doletzky to comply

   fully with his initial disclosures obligations and to produce other requested discovery.

   (Doc. 43). The latter included verified answers to the government’s first set of

   interrogatories and responses to the government’s first requests for production. Id.

          Doletzky did not timely respond to the government’s motion, prompting the

   Court to enter an Order directing him to do so by November 16, 2018. (Doc. 45).

   When Doletzky failed to comply with that directive, the Court entered another Order

   on November 21, 2018, granting the government’s motion to compel and mandating

   that Doletzky tender the sought-after disclosures and discovery responses within

   fourteen days of the date of the Order. (Doc. 47).

          Roughly three and a half months later, the government filed the instant motion

   alleging that Doletzky had yet to satisfy the dictates of the Court’s November 21 Order.

   Citing Federal Rule of Civil Procedure 37, the government requests that the Court

   order Doletzky to pay the reasonable costs the government incurred in bringing the

   instant motion, hold him in civil contempt, and grant him seven days to purge his

   contempt by fully remedying his violations. Id. at 7-8. Failing a successful purge of

   the contempt, the government asks that the Court strike Doletzky’s answer and enter

   a default judgment and permanent injunction against him. Id.


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          Doletzky did not respond to the government’s motion, and the Court thereafter

   entered an Order on March 27, 2019, directing Doletzky to show cause in writing why

   he should not be sanctioned and scheduling the matter for a Show Cause hearing on

   April 23, 2019. (Doc. 54).

          At that hearing, 1 Doletzky appeared and conceded that he had not fully

   complied with the Court’s November 21 Order. In mitigation, he professed he did not

   fully understand what was required of him and believed that government counsel was

   seeking compliance in an unreasonable manner. Doletzky added that, prior to the

   hearing, he had produced a large box of documents to the government and had also

   given the government his password so that it could access his email account. He

   additionally offered to provide a signed verification page for his interrogatory

   responses and agreed to confer with government counsel regarding the remaining

   outstanding items.

          After the April 23 hearing, the government confirmed that Doletzky had

   provided it with a signed verification for his interrogatory answers. (Doc. 62). While

   it therefore appears Doletzky has now satisfied the Court’s November 21 Order in one

   respect, remaining for the Court’s resolution are the appropriate means to gain

   Doletzky’s compliance with the outstanding disclosures and discovery items and a

   suitable sanction for his disregard of the Court’s prior Orders.




   1
    The Court also heard argument at that hearing on the United States’ Motion for Leave to Take
   Additional Depositions. (Doc. 47). The Court ruled on that motion via a separate Order entered
   on April 30, 2019. (Doc. 63).

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                                              II.

                                     A. Initial Disclosures

          The Court begins its discussion with Doletzky’s untimely initial disclosures.

   The scope of such disclosures is governed by Rule 26(a)(1), which mandates that a

   civil litigant must provide the other parties to the action with the following items

   without awaiting a discovery request:

          (i)     the name and, if known, the address and telephone number of
                  each individual likely to have discoverable information—along
                  with the subjects of that information—that the disclosing party
                  may use to support its claims or defenses, unless the use would
                  be solely for impeachment;

          (ii)    a copy—or a description by category and location—of all
                  documents, electronically stored information, and tangible
                  things that the disclosing party has in its possession, custody, or
                  control and may use to support its claims or defenses, unless the
                  use would be solely for impeachment;

          (iii)   a computation of each category of damages claimed by the
                  disclosing party—who must also make available for inspection
                  and copying as under Rule 34 the documents or other evidentiary
                  material, unless privileged or protected from disclosure, on
                  which each computation is based, including materials bearing on
                  the nature and extent of injuries suffered; 2 and

          (iv)    for inspection and copying as under Rule 34, any insurance
                  agreement under which an insurance business may be liable to
                  satisfy all or part of a possible judgment in the action or to
                  indemnify or reimburse for payments made to satisfy the
                  judgment.
   Fed. R. Civ. P. 26(a)(1)(A).


   2
    Because Doletzky is a defendant in this action and has not asserted a counterclaim, this
   damages computation provision is most likely inapplicable to him.

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          The Court has already twice ordered Doletzky to provide these initial

   disclosures—once in its CMSO (Doc. 39) and again in its November 21 Order (Doc.

   47). Given Doletzky’s pro se status and his assertion that he did not understand his

   responsibility in this regard, the Court will offer him one final opportunity to do so.

          Accordingly, Doletzky shall fully comply with his initial disclosure obligations

   under Rule 26(a)(1) within seven (7) days of the date of this Order. Such disclosures

   must be in writing, signed by Doletzky, and served upon government counsel as well

   as all other parties to this action. Doletzky is admonished that failure to comply with

   these requirements may result in the imposition of additional sanctions against him,

   as more fully discussed below.

          The Court notes in this regard that, while it recognizes that Doletzky is not an

   attorney and is proceeding pro se, he is nonetheless required to follow the Federal Rules

   of Civil Procedure, the Middle District of Florida’s Local Rules, as well as the Orders

   of the Court. To this end, the Court advises Doletzky to consult resources available

   to pro se litigants. Doletzky may seek advice, for example, through the “Legal

   Information Program,” in which the Tampa Bay Chapter of the Federal Bar

   Association offers unrepresented federal court litigants the opportunity to solicit and

   obtain free, limited assistance from lawyers regarding the procedures governing federal

   cases. The rotating group of attorneys who staff this program are available on

   Tuesdays from 1:00 to 2:30 p.m. on the second floor of the Sam M. Gibbons

   Courthouse, 801 North Florida Avenue, Tampa, Florida 33602.                 A brochure

   containing    further    information    about     the    program     is   available       at


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   https://www.flmd.uscourts.gov/sites/flmd/files/documents/mdfl-legal-

   information-program-tampa.pdf.

          In addition, the Court recommends that Doletzky visit the Middle District of

   Florida’s resources for litigants without lawyers, 3 which includes a “Guide for

   Proceeding Without a Lawyer.” The Middle District’s website also includes helpful

   links to the Federal Rules of Civil Procedure 4 and the Middle District Civil Discovery

   Handbook. 5

                            B. Requests for Production of Documents

          Turning to the government’s Requests for Production of Documents, it is

   uncontested that Doletzky has provided the government with a box of responsive

   documents, as well as access to an email account. At the Show Cause hearing, the

   government advised it had received such materials but needed confirmation from

   Doletzky that: (a) he has tendered all of the relevant, responsive documents within his

   custody, possession, or control; (b) he did not maintain and/or has not previously used

   any other email addresses during the relevant time period; and (c) he has not withheld

   any documents on the grounds of privilege or other protection. The Court finds the

   government’s position entirely reasonable under the circumstances.

          As such, within seven (7) days of the date of this Order, or as otherwise agreed

   by the parties, Doletzky shall provide the following:



   3
     https://www.flmd.uscourts.gov/litigants-without-lawyers
   4
     https://www.uscourts.gov/sites/default/files/rules-of-civil-procedure.pdf
   5
     https://www.flmd.uscourts.gov/sites/flmd/files/documents/florida-middle-district-courts-
   civil-discovery-handbook.pdf

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          1.      Any additional documents over which he has possession, custody, or

   control 6 that are responsive to the United States’ First Requests for Production of

   Documents.

          2.      A list, signed under penalty of perjury, of any other email addresses

   Doletzky maintained or used during the last ten years, along with an explanation of

   whether he continues to have access to any such email accounts and, if he no longer

   has such access, any other information he possesses bearing on who may be able to

   access any such email accounts.

          3.      A certification, signed under penalty of perjury, that Doletzky has

   provided all non-privileged documents within his possession, custody, or control that

   are responsive to the United States’ First Requests for Production of Documents. 7

          4.      If Doletzky has withheld any documents from production on the basis

   of privilege or any other protection, he must provide a privilege log in accordance

   Federal Rule of Civil Procedure 26(b)(5). 8 If, on the other hand, Doletzky has not



   6
     Under Federal Rule of Civil Procedure 34, discovery is not limited to those documents in
   one’s personal possession. A party is also subject to discovery of documents within his
   “control,” which is “defined not only as possession, but as the legal right to obtain the
   documents requested upon demand.” Searock v. Stripling, 736 F.2d 650, 653 (11th Cir. 1984);
   see also Siegmund v. Xuelian Bian, 746 F. App’x 889, 891 (11th Cir. 2018) (citing Searock);
   Sergeeva v. Tripleton Int’l Ltd., 834 F.3d 1194, 1201 (11th Cir. 2016) (same).
   7
     If additional documents or information are discovered after Doletzky has made this
   certification, he is obligated to provide supplementation in accordance with Federal Rule of
   Civil Procedure 26(e).
   8
     This Rule requires that a party asserting privilege or protection “expressly make the claim”
   and “describe the nature of the documents” not disclosed “in a manner that, without revealing
   information itself privileged or protected, will enable other parties to assess the claim.” Fed.
   R. Civ. P. 26(b)(5)(A)(ii).

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   withheld any documents, he shall so state, in writing and signed under penalty of

   perjury. As above, Doletzky is admonished that failure to comply with these directives

   may result in the imposition of additional sanctions, as more fully discussed below.

                                              III.

          Turning to the appropriate sanctions for Doletzky’s conduct, the Court notes

   that, thus far in these proceedings, Doletzky has displayed a disregard for both the

   Federal Rules of Civil Procedures and Court Orders. In particular, Doletzky failed to:

   (1) provide his initial disclosures in compliance with Rule 26 and the Court's CMSO;

   (2) tender responses to the government’s discovery requests; (3) respond to the

   government’s motion to compel discovery; (4) comply with the Court’s Orders dated

   November 6 and 21, 2018; and (5) file a written response as directed in the Court’s

   March 27, 2019, Show Cause Order. See (Docs. 39, 45, 47, 54). His inattention to this

   case, his uncooperative (if not obstructive) behavior, and his failure to abide by the

   Court’s Orders cannot be countenanced.

          To remedy this pattern, the Court looks to Federal Rule of Civil Procedure 37,

   which authorizes the imposition of “just” sanctions against a party that fails to make

   the required disclosures or violates an order compelling discovery. Fed. R. Civ. P.

   37(b)(2), (c)(1); see also Fed. R. Civ. P. 16(b) (authorizing the court to impose sanctions

   pursuant to Rule 37 for a party’s “fail[ure] to obey a scheduling or other pretrial

   order”). The rule itself includes a list of possible sanctions:

          (i) directing that the matters embraced in the order or other designated
          facts be taken as established for purposes of the action, as the prevailing
          party claims;

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          (ii) prohibiting the disobedient party from supporting or opposing
          designated claims or defenses, or from introducing designated matters
          in evidence;

          (iii) striking pleadings in whole or in part;

          (iv) staying further proceedings until the order is obeyed;

          (v) dismissing the action or proceeding in whole or in part;

          (vi) rendering a default judgment against the disobedient party; or

          (vii) treating as contempt of court the failure to obey any order except
          an order to submit to a physical or mental examination.

   Fed. R. Civ. P. 37(b)(2)(A).

          Regardless of whether the Court imposes any other sanction, once the Court

   finds that a party has failed to comply with its discovery order, it “must order the

   disobedient party . . . to pay the reasonable expenses, including attorney’s fees, caused

   by the failure, unless the failure was substantially justified or other circumstances make

   an award of expenses unjust.” Fed. R. Civ. P. 37(c).

          Strict adherence to Rule 37 serves to thwart parties from “flouting discovery

   orders.” Reed v. Fulton Cnty. Gov’t, 170 F. App’x 674, 675 (11th Cir. 2006) (per curiam)

   (quotation omitted). As such, sanctions “are imposed not only to prevent unfair

   prejudice to the litigants but also to insure the integrity of the discovery process.” Aztec

   Steel Co. v. Fla. Steel Corp., 691 F.2d 480, 482 (11th Cir. 1982) (per curiam). And, parties

   who are proceeding pro se are “subject to sanctions like any other litigant.” Smith v.




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    Atlanta Postal Credit Union, 350 F. App’x 347, 350 (11th Cir. 2009) (quoting Moon v.

    Newsome, 863 F.2d 835, 837 (11th Cir. 1989)).

           In the end, the Court has substantial discretion in deciding whether and how

    to impose sanctions under Rule 37. Chudasama v. Mazda Motor Corp., 123 F.3d 1353,

    1366 (11th Cir. 1997). That discretion, however, is not unbridled. It is axiomatic that

    the magnitude of the sanctions must be “reasonable in light of the circumstances.”

    Carlucci v. Piper Aircraft Corp., Inc., 775 F.2d 1440, 1453 (11th Cir. 1985) (noting that

    permissible purposes of sanctions are to compensate the court or parties for added

    expenses, compel discovery, deter misconduct, or punish the guilty party) (quotation

    marks and footnote omitted).

           For instance, civil contempt for non-compliance with discovery orders, which

    the government seeks here, is a harsh sanction that requires the movant to establish by

    clear and convincing evidence that: “(1) the allegedly violated order was valid and

    lawful; (2) the order was clear and unambiguous; and (3) the alleged violator had the

    ability to comply with the order.” Georgia Power Co. v. N.L.R.B., 484 F.3d 1288, 1291

    (11th Cir. 2007) (citation omitted) (emphasis omitted); see also F.T.C. v. Leshin, 618

    F.3d 1221, 1232 (11th Cir. 2010) (citation omitted). “Once this prima facie showing

    of a violation is made, the burden then shifts to the alleged contemnor to produce

    evidence explaining his noncompliance . . . .” Chairs v. Burgess, 143 F.3d 1432, 1436

    (11th Cir. 1998) (internal quotation marks omitted). If contempt is appropriate, the

    Court may provide remedial relief in the form of “a coercive daily fine, a compensatory

    fine, attorney’s fees and expenses, and coercive incarceration.” F.T.C. v. RCA Credit


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    Servs., LLC, 2012 WL 11406549, *1 (M.D. Fla. Mar. 20, 2012) (citations omitted); see

    also Citronelle-Mobile Gathering, Inc. v. Watkins, 943 F.2d 1297, 1304 (11th Cir. 1991).

           In addition to contempt, the severest of sanctions—dismissal or default

    judgment, which the government proposes if Doletzky fails to purge the requested

    contempt—are appropriate only as a last resort, when less drastic sanctions would not

    ensure compliance with the court’s orders. Mene v. Marriott Int'l Inc., 238 F. App’x 579,

    581-82 (11th Cir. 2007); United States v. Varnado, 447 F. App’x 48, 51 (11th Cir. 2011).

           Upon due consideration of the matter, the Court finds that contempt

    proceedings are premature at this time. Several considerations guide the Court’s

    decision in this regard.     While Doletzky has not fully satisfied his discovery

    obligations, he has tendered some materials to the government, including a large box

    of documents and the password to an email account. In addition, he provided answers

    (albeit unverified ones) to the government’s first set of interrogatories.

           Further, at the Show Cause hearing—Doletzky’s first appearance before the

    undersigned—the Court discussed with him the gravity of the situation and his

    responsibilities to conduct himself accordingly.            Doletzky, who has been

    unrepresented throughout this matter, appeared to appreciate the seriousness of the

    Court’s admonitions and the potential consequences that would follow if he continued

    to defy Court Orders and the governing rules.

           In addition, the parties are still well within the discovery period designated by

    the CMSO. (Doc. 39). As a result, any alleged prejudice suffered by the government




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    due to Doletzky’s noncompliance may be still be redressed if Doletzky provides those

    materials discussed in Section II, supra.

           In light of the present circumstances mitigating against a contempt finding,

    lesser sanctions than those the government seeks are appropriate. Because Doletzky

    has made no showing that his actions were substantially justified or that other

    circumstances make an award of expenses unjust, such sanctions shall consist of

    payment of the government’s reasonable expenses, including attorney’s fees, incurred

    in bringing both its motion to compel (Doc. 43) and its motion for sanctions (Doc. 50).

    Fed. R. Civ. P. 37(c). The Court reiterates its warning to Doletzky that if he fails in

    the future to abide by Court Orders and the rules to which he is subject, including the

    Federal Rules of Civil Procedure and the Middle District’s Local Rules, the Court will

    not hesitate to consider imposing more severe sanctions upon him.

                                                IV.

           In light of the above, it is hereby ORDERED:

           1.        The United States’ Motion for Rule 37 Sanctions Against Steven Doletzky,

    Including Contempt of Court (Doc. 50) is GRANTED in part and DENIED in part.

           2.        As more particularly described above, Doletzky shall fully comply with

    his initial disclosure obligations under Rule 26(a)(1) within seven (7) days of the date

    of this Order.

           3.        As also more particularly described above, within seven (7) days of the

    date of this Order, or as otherwise agreed by the parties, Doletzky shall provide the




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    above-referenced information regarding the United States’ First Requests for

    Production of Documents.

           4.     Doletzky shall pay the United States’ reasonable expenses incurred in

    bringing its motion to compel (Doc. 43) and its motion for sanctions (Doc. 50).

           5.     Within ten (10) days hereof, the government shall file an affidavit in

    support of its claim of such reasonable expenses.

           6.     If Doletzky disputes the reasonableness of the government’s claimed

    expenses, he may file an objection to the government’s affidavit within ten (10) days

    thereafter.

           7.     To the extent not granted hereby, the United States’ motion is denied

    without prejudice.

           DONE and ORDERED in Tampa, Florida, this 23rd day of May 2019.




    Copies to:
    Counsel of record
    Any unrepresented party




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